                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
            v.                               )      Criminal Action No.
                                             )      14-00322-01-CR-W-DGK
CINDY KAY POOLE,                             )
                                             )
       Defendant.                            )

                          ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen (Doc. 93), to which no objection has been filed, the Defendant’s plea of guilty to the

lesser included charge in Count One of the Indictment filed on November 18, 2014, is now

accepted and the Defendant is adjudged guilty of such offense.    Sentencing will be set by

subsequent order of the Court.



                                                       /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT

Dated: June 6, 2016




       Case 4:14-cr-00322-DGK        Document 99       Filed 06/06/16    Page 1 of 1
